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     Exhibit 404
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         6/3/2021    Mike Lindell, Absolutely 9-0, Lindell TV
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·1· · · · · · MIKE LINDELL:· Hello, everyone.· I'm Mike
·2· Lindell, and as you all know on January 9th received
·3· evidence of a cyber attack orchestrated BY China on our
·4· 2020 election.· I took that one piece of evidence and I
·5· just went all in.· This was something different nobody
·6· had seen.· This was something that came through the
·7· machines, the Dominion machines, the Smartmatic and
·8· other machines.· This was a cyber attack.· I didn't know
·9· anything about cyber attacks, and I had to learn real
10· fast.
11· · · · · · I hired experts to validate this.· These
12· guys are white hat hackers that work for the
13· government.· But what I'm going to show you tonight
14· is you're going to all know now why I have been one
15· hundred percent sure that when this gets before the
16· Supreme Court it's going to be 9-0, 9-0 to pull this
17· election down and that this was a hundred percent
18· attack by China on our country through these
19· machines.
20· · · · · · And with us right now is one of my cyber
21· security experts.· These guys are the best, and this
22· guy has over 20 years of experience working in both
23· the private sector and with government law
24· enforcement and intelligent agencies.· He has many
25· information and cyber security certifications that


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·1· specialize in advance adversary detection, mitigation
·2· and elimination, and here he is now.· Hello.
·3· · · · · · SPEAKER:· Hello, Mike.· Thanks for having me.
·4· · · · · · MIKE LINDELL:· Thanks for all the work you've
·5· done for our country, and thanks for all the work you've
·6· done for myself, and I know I've put yourself and many
·7· others through a couple months worth of work now just to
·8· get everything validated for our country to show that
·9· this evidence is real.
10· · · · · · So what I'll going to go through,
11· everybody, let's start from January 9th, the stuff
12· that these guys brought to me.· These guys were there
13· the night of the election, and it was like taking a
14· movie.· I compared it to like taking a movie, and
15· they have all this informational, millions of lines
16· of data.· Why don't we show that right now.· Can you
17· go ahead and say what we're walking here?
18· · · · · · SPEAKER:· Yeah.· That's essentially the raw
19· encrypted data.· I mean, that would run for the next
20· couple days.· You know, that's the amount of data that
21· we're dealing with here.
22· · · · · · MIKE LINDELL:· So what this contains here is
23· what?· What are these?· Is this cyber forensics?· What
24· are we looking at?· What are these called?· I know you
25· had told me before they're called like PCAPs or


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·1· something.
·2· · · · · · SPEAKER:· Yeah.· So PCAP is just an acronym
·3· for packet capture, so it's essentially a moment in time
·4· that is captured, and that the transmission of those
·5· packets, any information that travels between point A
·6· and point B is essentially a packet.· And so those
·7· packets moving back and forth during the election were
·8· captured.· But you need to actually record it, and so
·9· that's where we're very blessed and fortunate to have,
10· you know, some of these guys that actually recorded the
11· information as it happened.
12· · · · · · MIKE LINDELL:· You heard it here, people.· You
13· heard it here, everyone.· We have -- what a blessing it
14· is that we have the evidence.· This is what I've been
15· telling everybody for months now since January 9th.
16· These are the actual evidence that was collected the
17· night of the election and a couple days following.
18· · · · · · Now, I can't read these, and neither can
19· anyone else that's probably watching unless you're an
20· expert like you guys are.
21· · · · · · SPEAKER:· One more piece to that is you can't
22· go back in time and fake a PCAP essentially.· You have
23· to capture that packet in realtime, so you need to
24· record it.· You don't go backwards and, you know,
25· recreate this, you know, whole chain of events.


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·1· · · · · · MIKE LINDELL:· Wow.
·2· · · · · · SPEAKER:· It happens and you record it.
·3· · · · · · MIKE LINDELL:· Okay.· So that's a great point.
·4· So what he's saying there, everyone, is you can't go
·5· back in time and say okay, I'm going to make these up,
·6· and also you can't go back and change anything, right?
·7· If you have these PCAPs, you can't go change them.· It's
·8· a blessing we have them here.· If we didn't have,
·9· everything, that evidence would be long gone, correct?
10· · · · · · SPEAKER:· Yeah, it would definitely be gone.
11· You know, luckily somebody pressed record during the
12· entire election.
13· · · · · · MIKE LINDELL:· Wow.· Yeah, that is a blessing
14· and they brought it to me.· Why did they bring it to me?
15· Because at that point on January 9th nobody else -- all
16· the other evidence they found for November and December,
17· I call it the organic cheating, you know, dead people
18· voting, nonresidents voting, all this other stuff.
19· Everybody is so focused on that, and these guys -- I
20· mean, they're heros that ended up collecting this the
21· night of the election.
22· · · · · · So they bring it to me now everybody, and
23· I'm going okay.· I wanted to learn all I could about
24· it, and one of the things is -- now, if you take this
25· stuff here -- one of the things I asked you and many


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·1· others because many cyber experts, I'm going is there
·2· any way, any way you could go back in time and doctor
·3· it, change it.· I think you compared it to like a
·4· forensic scene at a crime scene with like DNA
·5· evidence; is that correct?
·6· · · · · · SPEAKER:· Yeah.· So really what you're looking
·7· at is, I mean, there's hash values which are unique to
·8· each item.· Any change to that, it will change the hash,
·9· so that's how you verify images or, you know, the PCAP
10· in this case.· So when you're looking at, you know, this
11· file, you make sure that it hasn't been doctored or
12· anything's been done to it because when you do the work,
13· it needs to match that original file, and so that's
14· where you start.· And then, you know, we work to
15· unencrypt and pull the data out to identify exactly what
16· happened during that period of time.
17· · · · · · MIKE LINDELL:· Okay.· So now in all your work
18· in twenty years, then, do you work with these PCAPs a
19· lot or do most cyber experts?· That's what you work with
20· all the time?
21· · · · · · SPEAKER:· Yeah.· A lot of the time we do
22· because, you know -- well, you -- there is the active
23· cyber attack being recorded, and the way you record it
24· is through a PCAP.· That's how you capture that traffic.
25· That traffic, when you capture that information, you


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·1· have the source, you have the destination, you know, you
·2· have the files that are being transmitted, and through
·3· what protocol, it captures a lot of information and, you
·4· know, you go through it and you essentially translate
·5· it.
·6· · · · · · MIKE LINDELL:· Right.· That's what took so
·7· long.· I believe it's been a couple months now that I've
·8· had yourself and many others validating and translating
·9· these PCAPs.· There was literally thousands of hacks,
10· right, from China?
11· · · · · · SPEAKER:· Yeah.· Well, there were a lot, and
12· there were a lot successful.· Some were just doing
13· reconnaissance, and others were flipping votes.· And so
14· it would go in and identify where it needed to flip and
15· flip, so there was a lot of activity.
16· · · · · · MIKE LINDELL:· So what I had you guys do was
17· go out and get 20 -- just grab 20 of the PCAPs, 20 of
18· them that you could take that data and translate it into
19· something that was readable for all of us here.· So what
20· I did, I said you know what, let's just see, you know,
21· because this was in the millions and millions of votes
22· that were flipped on our election by China from Trump to
23· Biden, okay.· So I said well, let's just grab 20 of them
24· so we can make this Absolutely 9-0 video.· So we went
25· out and we grabbed 20 of them.


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·1· · · · · · Now it took, I don't know, what did it
·2· take, four to six weeks to validate just those 20
·3· PCAPs because I was very particular.· I wanted every
·4· little thing validated, and one hundred percent
·5· foolproof, and these were the five states.· These
·6· were five states, Michigan, Wisconsin, Pennsylvania,
·7· Wisconsin and Georgia.· Okay.
·8· · · · · · So now what I want to do is bring up the
·9· data that you took, the PCAPs and translated it for
10· us and showed just these 20 attacks exactly what
11· these PCAPs showed that we can all read.· On the
12· first line, if we start on the top here, this was
13· from, if we look at the date, it's 11/3/20, the day
14· of the election at 10:49 p.m.· Can you go ahead and
15· take us through this when you talk about the source
16· and take us through us line by line and explain what
17· this is.
18· · · · · · SPEAKER:· Yeah.· So the source is the IP
19· address from the computer that essentially, you know,
20· changed that vote.· So since we focused on the 20, each
21· one of these resulted in votes being changed, so that's
22· the source.· Latitude and longitude is essentially
23· within 400 yards of where that device is located.
24· Beijing, obviously China, Province City.
25· · · · · · And then this next part is the network that


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·1· was pulled out of the PCAP essentially.· But, you
·2· know, some of these is in Chinese, so when you
·3· translate it you just want to make sure and, you
·4· know, as you've asked us to do double, triple,
·5· quadruple, you know, validate.· So we've been going
·6· through, making sure the translations and all the
·7· information checks out.
·8· · · · · · MIKE LINDELL:· So what he's saying here,
·9· everybody, is what I did is I made them all validate the
10· validation; isn't that correct?
11· · · · · · SPEAKER:· Yeah.· So we, you know, because
12· we're dealing with other languages, we validated the
13· validation that was validated.
14· · · · · · MIKE LINDELL:· So the next line there, which
15· is the network code, what would that be.
16· · · · · · SPEAKER:· Yeah.· So that's essentially from
17· the registration, the IP.· So, you know, most every
18· single IP is registered to somebody.· When you look at
19· that network, that network range and, you know, identify
20· who the registered owner is, so that's where it comes
21· up.
22· · · · · · MIKE LINDELL:· Okay.· So you got all this
23· information from the PCAPs; is that correct?
24· · · · · · SPEAKER:· Yeah.
25· · · · · · MIKE LINDELL:· The next line, it says target.


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·1· Now, we just went through, which would be the hacker or
·2· the attacker, so to speak, correct?
·3· · · · · · SPEAKER:· Yeah.
·4· · · · · · MIKE LINDELL:· And now we're going to get into
·5· the target, which is I guess I could pull that out, the
·6· target.· That would that be the target's IP address, and
·7· then again the longitude, latitude, and the state that
·8· it was hacked into, correct?
·9· · · · · · SPEAKER:· Yep.
10· · · · · · MIKE LINDELL:· And then we have the entry
11· point.· You know, there's Delta County here in this
12· case, and then the network registration.· So the network
13· registration, all this stuff came right out of the PCAPs
14· that's preserved in time.· You can't change it, and when
15· you have it it's one hundred percent it's nonnegotiable.
16· I mean, here it is.· This is what it is; is that
17· correct?
18· · · · · · SPEAKER:· Yeah.· I think we were saying that
19· this isn't subjective.· It's just -- it is what it is,
20· information, you know.
21· · · · · · MIKE LINDELL:· Right.· So before we go to the
22· last couple lines I want to ask you this.· If you were
23· going to prove a case, a cyber case, a cyber attack and
24· if you had a wish list, like let's say, you know,
25· obviously when I came to you and others and said hey, I


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·1· have something that's really going to change the world
·2· these guys brought me.· I didn't know they were called
·3· PCAPs at the time, but I knew they were from the night
·4· of the election, what would you say, if you could have
·5· your wish list hundred percent prove something, is this
·6· what it would be?· What would it be in a cyber attack?
·7· · · · · · SPEAKER:· Yeah.· This is one hundred percent,
·8· I mean.
·9· · · · · · MIKE LINDELL:· This is what I you would want?
10· · · · · · SPEAKER:· Yeah.· A lot of times come you com
11· in, you know, in our line of work we get called in after
12· the attack.· So this was something that was captured
13· during the attack.· You always want that.
14· · · · · · MIKE LINDELL:· You always want that?
15· · · · · · SPEAKER:· Yeah.· You want to catch the -- you
16· know, somebody's robbing a bank, you want to have it on
17· video.· That's definitive evidence.· This is robbing the
18· bank and having it on video.
19· · · · · · MIKE LINDELL:· So I wanted everyone to hear
20· that.· This is we have what everyone would ever want to
21· have if there was a crime committed cyberly, a cyber
22· attack.· We have the forensic evidence.· We have the
23· movie.· We have the video of the bank being robbed, so
24· to speak.· And right before -- I wanted you all to hear
25· that before you look at the last couple lines here.· You


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·1· have the intrusion, how they got in, firewall,
·2· credentials, whether they have the credentials, and was
·3· it a success.· Yes, it was a success.· Here it is,
·4· everybody, what happened.
·5· · · · · · In this case Donald Trump, it says down.
·6· There were 3,215 votes flipped, and you can go all
·7· the way down this list, and every one of them was
·8· votes taken from Trump given to Biden.· It was a
·9· flip.· So these cyber hacks and these attacks, are
10· you saying that these numbers here again came right
11· off of these PCAPs; is that correct?
12· · · · · · SPEAKER:· Yeah.· I mean, they're specific
13· numbers, right?
14· · · · · · MIKE LINDELL:· Yeah.
15· · · · · · SPEAKER:· So you're not just rounding up.
16· It's actual specific like to the vote numbers, PCAPs.
17· · · · · · MIKE LINDELL:· That is so awesome.· So
18· everybody, do you see what this is?· What we have here.
19· You talk about a smoking gun.· This is why I've so --
20· everybody, you know, for two months people have attacked
21· me and told me I didn't have the evidence and all this
22· stuff and we made these other movies.· But I wanted to
23· get on here and explain to everyone, this was an attack
24· by China on our country through these Dominion and these
25· other machines where they just hacked in, a cyber attack


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·1· hacked into our election and flipped it to anyone that
·2· they wanted to win.· In this case it was the Democrat
·3· party.
·4· · · · · · I want to ask you something before we go to
·5· the next chart.· Going to the Supreme Court, when
·6· this gets there, when we bring this to the Supreme
·7· Court, so what you're saying because this isn't
·8· subjective and you can't change anything, with this
·9· evidence and you go in there, what would you expect?
10· Is there any way it could be five to four or six to
11· three that this is real or eight to one, or does it
12· have to be 9-0?
13· · · · · · SPEAKER:· No.· It's irrefutable.
14· · · · · · MIKE LINDELL:· Irrefutable.
15· · · · · · SPEAKER:· That's the word.
16· · · · · · MIKE LINDELL:· And it's not subjective, right?
17· · · · · · SPEAKER:· No, not at all.· Sometimes you have
18· little specs of blood, right?· This is a bucket of it.
19· · · · · · MIKE LINDELL:· Wow.· You're so awesome.· Now
20· everybody knows why I've got the confidence I've had
21· over the last couple months.
22· · · · · · Now I want to show you, I want to show
23· everybody.· Remember, these are just 20 of the hacks,
24· everybody, out of thousands that China orchestrated.
25· And so whether you're a Democrat or a Republican,


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·1· this is the most serious thing that's ever happened.
·2· This is the biggest crime against our country and
·3· humanity I could think of ever.
·4· · · · · · So now let's pull up the next chart here.
·5· And what it's going to show, everybody, is just
·6· remember, we just did -- I just had 20 of the
·7· attacks, 20 of the thousands of attacks on our 2020
·8· election by China.· I just took 20 of them and I had
·9· 20 of them validated and revalidated and revalidated.
10· So right now as we pull up this chart, I'm going to
11· show you what those 20 attacks did.· What they did,
12· if you look at Pennsylvania here, it's where it said
13· Biden won by over 80,000.· Just with those attacks
14· that we showed you, this small sampling, Donald Trump
15· won by over 107,000.· You go to Georgia, they say
16· Biden would witness by 11,779.· Just with this
17· sampling of the attacks, Donald Trump won by over
18· 35,000 votes.· Arizona, same story.· Over ten
19· thousand votes for Biden, and after you add in these
20· just a small sampling of attacks, Donald Trump wins
21· by almost 37,000.
22· · · · · · You go to Michigan, Michigan it says Biden
23· won.· Remember we had the big thing in Michigan where
24· they injected votes there.· But you have a !54,000
25· plus votes in Michigan, and with this small sampling


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·1· of hacks, these 20 attacks, just 20 of them, now
·2· Donald Trump wins Michigan by over 48,000 votes.
·3· · · · · · Now when you go to Wisconsin, you can see
·4· Donald Trump lost by over 20,000 votes, but he really
·5· wins by over 49,000, almost 50,000 votes.· And
·6· realize, this was just 20 of the thousands of
·7· attacks.· This is why when we say that Donald Trump
·8· really won this election by almost 80 million to
·9· 68 million for Biden, how can you switch tens of
10· millions of votes.· It had to be done with computers,
11· it had to be done with the machines, through these
12· Dominion, through all these machines, and China did
13· it.· It's a cyber attack of historical proportions.
14· · · · · · And I want to ask you now, if you took this
15· into the Supreme Court with all of this, and just
16· with this sampling and brought it in there, could any
17· cyber person that works in cyber, what do you call
18· it, cyber warfare or cyber forensics, they would be
19· able to show these nine justices this evidence.· And
20· is there any way that it would not be a 9-0 vote
21· saying this is a hundred percent true?
22· · · · · · SPEAKER:· No.· And I think it would be great
23· for, you know, some of my colleagues and, you know, more
24· people within that community to weigh in because they'll
25· reach the same conclusion.· And, you know, we've been


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·1· doing this for a long time.· We know what we're looking
·2· at, and I'm confident in, you know, them seeing the same
·3· exact thing as we have.· It's real, it's there, and you
·4· can't change it, so what do you do with that?· You have
·5· to rule, and that ruling it has to be, you know, I mean,
·6· it's not just majority.· It's the whole thing.
·7· · · · · · MIKE LINDELL:· Right.
·8· · · · · · SPEAKER:· It's that black and white and, you
·9· know, it doesn't come down to any politics.· That's not
10· what this is about.· It's about our country and, you
11· know, that falls on both sides of the aisle.· So I think
12· at the end of the day that's what needs to be done, and
13· I think they'll choose the right, you know, decision.
14· · · · · · MIKE LINDELL:· Right.· Well, you know, it will
15· be 9-0, everybody.· You've heard it hear.· These guys,
16· these nine Supreme Court justices are going to be heroes
17· as far as I'm concerned.· They look at this.· They don't
18· even have to -- I would like to be one of them.· It
19· would be very easy to be one knowing that you've got
20· broad evidence that is not subjective, is one hundred
21· percent nonnegotiable, and so it's a very easy decision
22· for all nine of them.
23· · · · · · I mean, everybody, you have to realize
24· these are nine justices.· They are Americans.· They
25· grew up here.· They have families, they have


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·1· grandchildren, and they have neighbors, they have
·2· friends.· It doesn't matter whether you are a
·3· Democrat or a Republican or what you are.· This was a
·4· one hundred percent attack by China, the CCP coming
·5· into our country, and they just happen to use the
·6· Democratic Party.· That's who they picked to do it
·7· with.· Well, you know what, the Democrats warned us
·8· about this, everybody.· They warned us about this for
·9· a long time that these machines could get hacked.
10· · · · · · KAMALA HARRIS:· We recently also actually held
11· a demonstration for my colleagues here at the Capitol
12· where we brought in folks who before our eyes hacked
13· election machines, those that are being used in many
14· states but are not state of the art from our
15· perspective.
16· · · · · · AMY KLOBUCHAR:· We're very concerned because
17· there's only three companies.· You could easily hack
18· into them.· It makes it seem like all these states are
19· doing different things, but in fact three companies are
20· controlling them.
21· · · · · · SEN RON WYDEN:· 43 percent of American voters
22· use voting machines that researchers have found have
23· serious security flaws, including back doors.· These
24· companies are accountable to no one.· They won't answer
25· basic questions about their cyber security practices,


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·1· and the biggest companies won't answer any questions at
·2· all.· Five states have no paper trail, and that means
·3· there is no way to prove the numbers the voting machines
·4· put out are legitimate.· So much for cyber security 101.
·5· · · · · · J. ALEX HALDERMAN:· I know America's voting
·6· machines are vulnerable because my colleagues and I have
·7· hacked them repeatedly.· We've created attacks that can
·8· spread from machine to machine like a computer virus and
·9· silently change election outcomes, and in every single
10· case we found ways for attackers to sabotage machines
11· and to steal votes.
12· · · · · · REP. ZOE LOFGREN:· Early voters in Georgia in
13· 2018 saw machines deleting votes and switching them to
14· other candidates.
15· · · · · · reporter:· When you say hacked, what were they
16· able to do once they gained access to the machines?
17· · · · · · DOUGLAS LUTE:· Oh, all sores of things.· They
18· could manipulate the outcome of the vote, they could
19· manipulate the tally, they could delete the tally, and
20· they could compromise the vote in any number of ways.
21· · · · · · J. ALEX HALDERMAN:· I'm pretty sure my
22· undergrad computer security class at Michigan could have
23· changed the outcome of the 2016 Michigan election if we
24· wanted to.· It is that bad, and we have a combination of
25· very powerful adversaries, and unfortunately quite


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·1· vulnerable and obsolete systems.· That's why I say it's
·2· only a matter of time.
·3· · · · · · MIKE LINDELL:· This is why I have been so
·4· confident, and everybody that's watching this now, you
·5· need to share this video with everyone you know in the
·6· world.· Every day get up, text it to people, share it,
·7· call people, talk about it because, you know what, this
·8· is our country.· And right now you have a job to do.
·9· Everyone spread the word, show this evidence everywhere.
10· And why are we doing that?· Because when this gets to
11· the Supreme Court the big win is they have to accept it
12· to look at it, everybody.· They have to accept it to
13· look at it because once they look at it, it will be
14· absolutely 9-0.
15· · · · · · (End of recording.)
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·3· · · · · · · · · ·CERTIFICATE OF REPORTER

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·5· · · · · · I, Charlotte Crandall, certify that I was

·6· authorized to and did transcribe the foregoing audio

·7· recorded proceedings and that the transcript is a

·8· true and complete record of my stenographic notes

·9· from an audio recording and was transcribed to the

10· best of my ability.

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12· · · · · · Dated this 12th day of July, 2021.

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18· · · · · · · · · · · ________________________________
· · · · · · · · · · · · Charlotte Crandall
19· · · · · · · · · · · Registered Professional Reporter

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